






TEXAS COURT OF APPEALS, THIRD DISTRICT, AT AUSTIN






NO. 03-04-00305-CR






Jesus Carvajal, Appellant




v.




The State of Texas, Appellee







FROM THE DISTRICT COURT OF TRAVIS COUNTY, 331ST JUDICIAL DISTRICT


NO. 9044016, HONORABLE BOB PERKINS, JUDGE PRESIDING






M E M O R A N D U M   O P I N I O N



Jesus Carvajal seeks to appeal from a judgment of conviction for failing to register
as a sex offender.  Sentence was imposed on March 14, 2004.  There was no motion for new trial. 
The deadline for perfecting appeal was therefore April 13, 2004.  See Tex. R. App. P. 26.2(a)(1).
Carvajal filed what he styled his "out of time notice of appeal" on April 28, 2004.  No extension of
time for filing notice of appeal was requested.  See Tex. R. App. P. 26.3.  We lack jurisdiction to
dispose of the purported appeal in any manner other than by dismissing it for want of jurisdiction. 
See Slaton v. State, 981 S.W.2d 208 (Tex. Crim. App. 1998); Olivo v. State, 918 S.W.2d 519, 522-23
(Tex. Crim. App. 1996).


The appeal is dismissed.



				__________________________________________

				Jan P. Patterson, Justice

Before Chief Justice Law, Justices Patterson and Puryear

Dismissed for Want of Jurisdiction

Filed:   June 24, 2004

Do Not Publish


